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                                        October 12, 2022

Via ECF
The Honorable Lorna G. Schofield
United States District Court
Thurgood Marshall
United States Courthouse
40 Foley Square
New York, NY 10007

Re:    DarkPulse, Inc. v. EMA Financial, LLC, et al,
       Case No.: 1:22-cv-00045; Notice of Supplemental Authorities

Dear Judge Schofield:

We represent Plaintiff Darkpulse, Inc. in the above-captioned matter. We write to provide the
Court with supplemental authorities relevant to DarkPulse’s claims for relief asserted under the
Racketeer Influenced and Corrupt Organizations Act (“RICO”) (18 U.S.C. § 1961, et seq.), which
is premised on New York’s criminal usury statute, in this matter.

On June 6, 2022, the U.S. District Court for the Southern District of New York granted a
borrower’s motion for summary judgment on its RICO unlawful debt collection claim—premised
on New York usury laws—in Fleetwood Servs., LLC v. Ram Cap. Funding, LLC, 2022 U.S. Dist.
LEXIS 100837 (S.D.N.Y. June 6, 2022). A copy of the Fleetwood decision is filed herewith as
Exhibit A.

On June 27, 2022, the U.S. District Court for the Southern District of New York denied the lender’s
motion to dismiss to the borrower’s RICO claims for unlawful debt collection, also premised on
New York’s usury claims, in Haymount Urgent Care P.C. v. GoFund Advance, LLC, 2022 U.S.
Dist. LEXIS 112768 (S.D.N.Y. June 27, 2022). A copy of the Haymount decision is filed herewith
as Exhibit B.

On July 20, 2022, the U.S. District Court for the Southern District of New York denied the lender’s
motion to dismiss to the borrower’s RICO claims for unlawful debt collection, also premised on
New York’s usury claims, in Lateral Recovery LLC v. Queen Funding, LLC, 2022 U.S. Dist.
LEXIS 129032 (S.D.N.Y. July 20, 2022). A copy of the Lateral Recovery decision is filed
herewith as Exhibit C.

On September 28, 2022, the U.S. District Court for the Eastern District of New York denied the
lender’s motion for summary judgment on its breach of contract claim when the borrower
interposed the affirmative defense of criminal usury under New York law in AKF, Inc. v. W. Foot
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& Ankle Ctr., 2022 U.S. Dist. LEXIS 176467 (E.D.N.Y. Sept. 28, 2022). A copy of the AKF
decision is filed herewith as Exhibit D.

On August 18, 2022, the New York County Supreme Court denied a convertible note lender’s
CPLR 3213 motion for summary judgment in lieu of a complaint, finding defendants “have raised
factual disputes” concerning the convertible note, and that the conversion discount could cause the
transaction to impose a criminally usurious rate of interest. GS Capital Partners, LLC v. FTE
Networks, Inc., 2022 N.Y. Misc. LEXIS 4698 (N.Y. Sup. Ct. Aug. 18, 2022). A copy of the GS
Capital decision is filed herewith as Exhibit E.

On September 30, 2022, the U.S. District Court for the Southern District of New York denied the
lender’s motion to dismiss to the borrower’s RICO claims for unlawful debt collection, also
premised on New York’s usury claims, in New Y-Capp v. Arch Cap. Funding, LLC, 2022 U.S.
Dist. LEXIS 180309 (S.D.N.Y. Sept. 30, 2022). A copy of the New Y-Capp decision is filed
herewith as Exhibit F.

All of the foregoing decisions rested their findings on the Court of Appeals’ recent usury decision
in Adar Bays, LLC v. GeneSYS ID, Inc., 37 N.Y.3d 320 (N.Y. 2021).

We thank the Court for its attention to this matter.


                                                Respectfully submitted,

                                                THE BASILE LAW FIRM P.C.

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cc:     Via ECF
        All Counsel of Record
